Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 1 of 8 PageID: 822
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 2 of 8 PageID: 823
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 3 of 8 PageID: 824
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 4 of 8 PageID: 825
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 5 of 8 PageID: 826
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 6 of 8 PageID: 827
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 7 of 8 PageID: 828
Case 2:10-cr-00722-SRC   Document 123   Filed 12/22/15   Page 8 of 8 PageID: 829
